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 7

 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. CR 10-191 JAM
12                     Plaintiff,                     STIPULATION AND ORDER TO
                                                      CONTINUE THE DATE FOR
13          v.                                        SENTENCING FROM JUNE 2, 2015 TO
                                                      AUGUST 11, 2015 AT 9:15 A.M.
14   TODD SMITH, et. al.,
15                     Defendants.
16

17          Defendants TODD SMITH and DARRIN JOHNSTON, by and through their attorneys,

18   Bruce Locke and Michael Long, and the Government, by and through its attorney, Todd Pickles,

19   stipulate that the date for sentencing should be continued from June 2, 2015 to August 11, 2015 at

20   9:15 a.m. The reason for the continuance is that defense counsel have recently received the final

21   Pre-Sentence Reports and, due to the complexity of the loss issues in the case, need additional

22   time to prepare the formal objections and sentencing memoranda. The first date that would fit all

23   counsel’s schedules is the date of August 11, 2015.

24
     Dated: May 28, 2015                                   Respectfully submitted,
25
                                                           /s/ Bruce Locke__________
26
                                                           BRUCE LOCKE
27                                                         Attorney for Mr. Smith

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     Dated: May 28, 2015                               Respectfully submitted,
 2
                                                       /s/ Bruce Locke__________
 3
                                                       For MICHAEL LONG
 4                                                     Attorney for Mr. Johnston

 5
     Dated: May 28, 2015                               BENJAMIN WAGNER
 6                                                     United States Attorney

 7                                                     /s/ Bruce Locke
                                                       For TODD PICKLES
 8                                                     Assistant U.S. Attorney
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10
            IT IS HEREBY ORDERED that the date for sentencing for Todd Smith and Darin
11
     Johnston is continued from June 2, 2015 to August 11, 2015.
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14   Dated: 5/28/2015                           /s/ John A. Mendez________________________

15                                              UNITED STATES DISTRICT COURT JUDGE

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